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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 PFLAG, INC., et al.,
        Plaintiffs,
                        v.
                                                    Civil Action No. BAH-25-337
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,
         Defendants.


          PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF THEIR
        EMERGENCY MOTION TO ENFORCE PRELIMINARY INJUNCTION

       Based on Plaintiffs’ likelihood of success on the merits and their showing of irreparable

harm, this Court’s preliminary injunction prohibited Defendants “from conditioning, withholding,

or terminating federal funding under Section 3(g) of Executive Order 14,168 and Section 4 of

Executive Order 14,187 based on the fact that a healthcare entity or health professional provides

gender-affirming medical care to a patient under the age of nineteen” and from “tak[ing] any steps

to implement, give effect to, or reinstate [those provisions of the Executive Orders] under a

different name.” Dkt. 116 at 1-2.

       Defendants’ notices to regulated parties are not examples of internal policy consideration

or general statements of “potential health and safety concerns” regarding gender affirming medical

care for minors. Defs.’ Mem. 10. The notices are overt threats by Defendants that federal funding

recipients risk losing their federal funding if they provide gender affirming medical care to a

patient under the age of nineteen. The notices explicitly threaten that agencies are looking at “re-

scoping, delaying, or potentially cancelling new grants” for entities that provide gender affirming

medical care based on the very concerns that motivated the Executive Orders. And the notices

even do so under the same name as one of the Executive Orders, “Protecting Children from
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Chemical and Surgical Mutilation,” which belies Defendants’ suggestion that these notices are not

simply a continuation of the Executive Orders’ provisions that this Court enjoined. Defendants’

threat to terminate funding is precisely what prompted the Court to issue the preliminary injunction,

and Defendants’ renewed threats seek to perpetuate the same irreparable harm that this Court’s

preliminary injunction was designed to prevent.

                                         CONCLUSION

       Plaintiffs’ emergency motion to enforce the preliminary injunction should be granted.



Dated: March 10, 2025.                                Respectfully submitted,

                                                      /s/ Omar Gonzalez-Pagan
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                                                principals of the firm admitted in Massachusetts.




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                             CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was electronically filed using the Court’s

CM/ECF system. Service was effected by and through the Court’s CM/ECF system.



Dated: March 10, 2025                                   /s/ Omar Gonzalez-Pagan
                                                        Omar Gonzalez-Pagan
